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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 SECURITIES AND EXCHANGE COMMISSION,

                                 Plaintiff,

              v.

 TERRAFORM LABS PTE LTD. and
 DO HYEONG KWON,

                                 Defendants.


                         DECLARATION OF DONALD E. BATTLE

       I, Donald E. Battle, pursuant to 28 U.S.C. § 1746, declare as follows:

1. My name is Donald E. Battle. I am the Assistant Director of the Data Science Group in

   the Crypto Assets and Cyber Unit, within the U.S. Securities and Exchange Commission’s

   (the “Commission” or “SEC”) Division of Enforcement. I manage a team and provide direct

   analytics and programming support in SEC enforcement matters involving crypto assets. I

   am skilled in various forms of data analytics and have been conducting blockchain-based

   investigations since 2013.

2. I respectfully submit this declaration in support of the SEC’s Motion for Final Judgment

   against Defendants Terraform Labs PTE Ltd. (“Terraform”) and Do Hyeong Kwon (“Kwon”,

   collectively “Defendants”).

3. Unless otherwise specified, I have personal knowledge of the facts set forth in this

   Declaration and, if called upon as a witness, I could and would testify to such facts under

   oath. I am familiar with the matters set forth in this Declaration based upon my personal

   knowledge and my review of information contained in the files of the Commission.



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4. I received a Bachelor of Arts, cum laude, from George Mason. Prior to joining the SEC, I

   worked at the Department of Treasury, as both a federal employee and cybersecurity

   consultant, during which I became knowledgeable on tactics, techniques, and procedures

   regarding money laundering and other methods used to obfuscate movement of crypto assets

   on the blockchain, as well as open-source programming techniques used to trace laundered

   funds. Additionally, the civil enforcement cases I worked on, related to anti-money

   laundering program compliance on crypto asset platforms, allowed me to become familiar

   with how these entities operate relative to the blockchain, and internally with their crypto

   asset orderbooks and other transfer services.

                                          SUMMARY

5. The following declaration provides a summary of data showing crypto assets received by

   Terraform, its wholly owned subsidiary, Terraform Labs Limited, or Terraform affiliate

   “Luna Foundation Guard” (“LFG”) (collectively “Terraform affiliates”). Based on my

   analysis, it appears these crypto assets were received in connection with the sale of Luna

   Tokens (“LUNA”), TerraUSD (“UST”) and Mirror (“MIR”). The dates of these sales range

   between 2018 and 2022, and the sum received by Terraform is the equivalent of billions of

   U.S. dollars in crypto assets transferred on the blockchain and in sale orders.

6. Throughout this investigation, I, along with other members of the SEC staff, obtained and

   reviewed evidence produced by Defendants, crypto asset trading platforms where Defendants

   held accounts, and other parties; public sources; and third-party data vendors. This evidence

   included:

       a. Data and information on Terraform’s crypto asset trading platform account
       at Binance.com;

       b. Data and information on Terraform’s crypto asset trading platform account at KuCoin;


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        c. Data and information on Terraform’s crypto asset trading platform account at Bitfinex;

        f. Terraform internal records on Luna, UST, and MIR sales;

        g. Terraform internal records on LFG sales of Luna and UST;

        h. Third party commercial crypto asset market aggregators that track the approximate
        United States Dollar (“USD”) value of crypto assets in minute, hour, and daily values;

        i. Public and private block explorers on Bitcoin, Ethereum, BSC networks that confirm
        transfers between Terraform-identified addresses and external party addresses fulfilling
        contractual sales;

        j. Terraform-provided contractual agreements; and

        k. Communications provided by Terraform and third parties, that include public
        addresses and transaction identifiers.

7. This declaration details the USD value of crypto assets received by Terraform and its

    affiliates of UST, LUNA, and MIR. 1 These estimates likely underestimate Terraform’s

    proceeds from selling UST, LUNA, and MIR because many Terraform accounts on other

    crypto asset platforms where secondary market sales occurred, such as Huobi, CoinList, and

    OKX are not included. 2 In addition, sales on so-called “Decentralized Exchanges” where

    Terraform created and participated in trading pools (including, for example, Curve and

    Uniswap) through the Terraform Ethereum-based address

    0xA046a8660E66d178eE07ec97c585eeb6aa18c26C are also excluded.

8. Below is a description of combined blockchain and orderbook evidence that confirms that

    Terraform affiliates received a sum of at least ~$4.148 billion in crypto assets (I understand

    that Terraform affiliates may have received additional amounts in fiat currency into bank



1
 For USD values in these payments, “stablecoin” payments align with the US dollar. For other transfers made in
Bitcoin and Ether, approximate USD values have been assigned at the time of the transaction timestamp using
crypto asset market aggregation data built into the block explorers used.
2
  I understand based on Terraform’s response to Interrogatory 19 (Plaintiff Exhibit 325) and additional documents,
including trading records, that Terraform also sold its crypto assets on Huobi, CoinList, and OKX.


                                                         3
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    accounts, which this declaration does not cover). Using the data provided, I have reviewed

    evidence that indicates Terraform and its affiliates received the following equivalent USD

    sums, in crypto assets, in exchange for selling LUNA, MIR, and UST:

        •    ~$23.94 million dollars in crypto assets from LUNA sales between 2018 and 2021;
        •    ~$3.795 million in crypto assets from MIR sales;
        •    ~$2.289 billion in in crypto assets from UST sales on crypto asset trading platforms
             and;
        •    ~$1.831 billion in crypto assets from LUNA and UST sales from LFG sales.

I. Terraform received ~$23.94 million dollars in crypto assets from Luna sales between
2018 and 2021.

9. As described below, I confirmed that Terraform wallet addresses received an estimated

    $23,938,604 worth of crypto assets that appear to be in exchange for sales of Luna executed

    between 2018 and 2021. Of that amount, $16,408,932.32 went to addresses that Terraform

    identified to the SEC as Terraform wallet address. 3 The remaining $7,529,672.16 went to

    addresses as directed by Terraform employees in referenced communications, as further set

    forth below. 4

10. To identify these crypto transfers, I was provided (1) a list of contracts and their details

    related to Terraform sales of LUNA identified in Exhibit 1 to the Declaration of Avron

    Elbaum (“Elbaum Declaration”), (2) spreadsheets produced by Terraform, and (3)

    communications produced by Terraform. Using timestamps, crypto asset historical values,


3
  Terraform previously identified the following addresses as Terraform addresses, in what I was informed by counsel
was admitted as evidence at trial as Plaintiff Exhibit 301 (Attachment 1 to this declaration):
0x52032989864bb4cb17c7f9fad4c25b19d36ba7de,
0x21ec2dBb3bFD2210A84bbC924466A70BECddd572, and
0xc89fa78cB14a79E588062Ab41F79E05E8122EDa8.
4
  Terraform addresses which were not provided in Attachment 1, but were referenced in communications, were
15D9ixEnnLf8pqvUcz8SSUzTR3s9t2FXeB,
1KPVF1SHbdQ9vfpE5WZcVcNd77Pb2kCZfD,
1JqK459x67UZgdrTjSczX2RJWGUX7k1rdX,
1KjxURFhz27twTYUTgH8gNQjvKmwMzvD9d,
3FiJrQPDBGbaAZM4L68zoB7boFsiKVNxmn, and
0xc17fBd6134608615833C157978e0cc9E1e7f59D3.

                                                        4
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   and blockchain identifiers, I was able to confirm the transfers on the blockchain between

   Terraform and their listed investors.

11. For Terraform’s sale of LUNA in 2018, I reviewed the contract details noted in Elbaum

   Declaration Exhibit 1, and a spreadsheet produced by Terraform. (Attachment 2 hereto,

   TFL_SEC_00218897). The contracting parties and the U.S. dollar values are largely

   consistent between the two documents. This provided additional evidence of the contracts

   identified in Elbaum Declaration Exhibit 1, but did not identify payment information.

12. Terraform produced another spreadsheet that appears to contain the contracts in Elbaum

   Declaration Exhibit 1, due to the shared listing of the same parties, and contractual amounts.

   (Attachment 3 hereto, TFL_SEC_00255798). Attachment 3 hereto also includes

   transactions hashes, which are identifiers of crypto transactions that I can and did verify

   through public and private block explorers. These transaction hashes are corroborated by

   other evidence as well. For example, an email from Hwisang Kim (HASHEDINC0002761),

   who purchased crypto assets from Terraform, provides a transaction hash for the payment

   related to 2018 LUNA sales, and this transaction hash matches the same hash value in the,

   which supports that Attachment 3 contains the same payment information for the contractual

   agreements. These transaction hashes are publicly viewable in public block explorers,

   showing timestamps, values transferred, and sending/receiving addresses. In many cases,

   Terraform and investors shared URLs to these public block explorers to confirm their

   investment activity.

13. There were several transactions from 2018 on Elbaum Declaration Exhibit 1 which were not

   listed on Attachment 3. For these transactions, as well as for the LUNA transactions from

   2019 to 2021, Terraform and other parties produced communications to the SEC, that



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    included corresponding timestamps, values transferred, and other blockchain identifiers. I

    reviewed the communications and then used the block explorers to identify transactions that

    match the description in the below detailed communications:

    •   In connection with the Andromeda Capitol Advisors GmbH payment of $100,080 worth
        of USDC, Terraform Chief Financial Officer (CFO) CJ Han communicated with an
        andromedagroup.io email domain address, to confirm the transfer of USDC, with a
        transaction hash shared in email on a public block explorer url. 5 (TFL_SEC_00164400).

    •   In connection with the Arrington XRP Capital Cayman SPV, Ltd. payment of $971,637
        worth of BTC, Terraform CEO Do Kwon communicated with heatherharde@gmail.com
        for a bitcoin transaction to a TFL-provided address,
        1KjxURFhz27twTYUTgH8gNQjvKmwMzvD9d. After a nominal test transaction of .016
        BTC, the email confirmed a payment of ~$1 million dollars. 6 These transfers occurred on
        the same date of email correspondence, August 5, 2018, and the transaction hash was
        provided as a form of confirmation. (AXRP0011053).

    •   In connection with the Collab + Currency LP payment of $499,994 worth of USD,
        Terraform provided the address 0x21ec2dBb3bFD2210A84bbC924466A70BECddd572
        in a contract, as the Terraform-hosted receiving address for a USDC payment. Several
        days later, an address with a publicly labelled attribution (Ethereum Name Service, or
        ENS) collabcurrency.eth, transferred the approximate value to Terraform’s 0x21ec2
        address. 7 (TFL_SEC_00171283).

    •   In connection with the Dunamu & Partners payment of $2,017,657 worth of BTC,
        Terraform CEO Do Kwon communicated with a dunamu.com email domain to provide
        an amount of bitcoin and a Terraform-hosted payment address. Subsequently, the amount
        of bitcoin specified by Do Kwon, ~243.037, equal to (at the time) $2 million, was
        transferred to the Terraform-hosted payment address. (TFL_SEC_00270744).

    •   In connection with the Polychain Fund 1 LP payment of $3,086,764 worth of BTC,
        payment address 15D9ixEnnLf8pqvUcz8SSUzTR3s9t2FXeB was provided by Terraform
        CFO CJ Han to a Polychain email domain for payment in bitcoin of Luna. Shortly
        thereafter, an amount in bitcoin approximately equal to the amount in the contract was
        transferred to the Terraform wallet address. 8 (POLY10048552).



5
  For confirmation, see transaction hashes
0x755da6342f3d07a5f2653cbe575ea38c505f61795f863cc1eebc96f3431c860e,
0xe03445b4a4f7e4c72d52fba5581e8bdca4e8fdd2cf2c0956b48dbe4acf67a47c.
6
  For confirmation, see transaction hash b324701ca57a120c6975eae5f3075a86c442e298362e583f619b04fdfadc185a
7
  For confirmation, see transaction hash
0x9896481791b90576a191e26565e9844bad10c5082e70243d54d9a57fe407992e
8
  For confirmation, see transaction hash
4d4ab3ebd284c5278ab06db7d4cd73c1ab4db5b096df15c9cea63bfda4ce9def.

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    •   In connection with the Galaxy Digital Trading HK Limited payment of $4,000,000 worth
        of USDC, Terraform CFO CJ Han communicated with a galaxydigital email domain to
        confirm the transfer of approximately $4 million USDC to Terraform payment address
        0x21ec2dBb3bFD2210A84bbC924466A70BECddd572. Transaction hashes confirm
        these payments. 9 (GD_MIR00004419).

    •   In connection with the Josh Hannah payment of $198,321 worth of ETH, Terraform CEO
        Do Kwon communicated with jhannah@gmail.com to transfer ether in payment of Luna.
        Terraform provides the address 0xc17fBd6134608615833C157978e0cc9E1e7f59D3 for
        payment, in which the value was transferred after an initial test transaction. 10 Both
        transactions are confirmed with further communication sharing the transaction hashes.
        (TFL_0002103).

    •   In connection with the Legacy Two Holdings Ltd payment of $257,916 worth of BTC,
        Terraform CEO Do Kwon communicated in an email regarding a crypto asset transfer for
        the mentioned entity Legacy Two Holdings Ltd transfer. Terraform provided the address
        3FiJrQPDBGbaAZM4L68zoB7boFsiKVNxmn, in which the bitcoin is transferred. 11
        (TFL_SEC_00270566).

    •   In connection with two other payments, I received a third spreadsheet (Attachment 4,
        TFL_SEC_00328281) that included the investors listed in Elbaum Declaration Exhibit 1
        and contract values that generally matched Elbaum Declaration Exhibit 1. While this
        document did not have transaction hashes, it provided the name of the crypto asset that
        was used for payment, the amount, and the date of the payment. Using this information, I
        was able to locate payments related to Binance Marketing Services Limited sending
        $1,214,724 worth of the crypto asset known as BNB 12 and Kakao Investments sending
        $997,378 worth of BTC. 13

14. Based on the documents I received, plus my review of public blockchain identifiers in other

    documentation, it is clear that Terraform-hosted wallets received a sum amount of

    $23,938,604 in crypto assets from April 2018 to July 2021 from the sale of LUNA.




9
  For confirmation, see transaction hash
0xabccaf499b1d606f569b55ceba0d0d1aa57f8f0d3f8e1609d767d93629ddd13a,
0xfd03d44029dca509f392e8c41425e95c9430adf03e75feaef0ef06fe654de6cc.
10
   For confirmation, see transaction hash
0x153d55a78abdc655346430d3d077a5bed359ccd223e8827d064a39a41f17aafd,
0x99b2e442b9860bdadf778981190fb94f9215d84314a02bb3330184bda3a4ce51.
11
   For confirmation, see transaction hash
c92d09fb7e0eb234327ab624f582641c9b283ecfe0dff2c5412e32c1e254685b.
12
   For confirmation, see transaction hash
0x09b2983acd4c9b4c49a84ee23620ba59e3c20f2a5fb59d75b2818c68ab8648a9.
13
   For confirmation, see transaction hash
3fe8bd9f82ba3cb4d2899d9578080c5947c3a83f60af2bc927c6ee3f8e0f99b9.

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    Appendix 1 is a table showing the corresponding crypto asset transfers between the listed

    parties and Terraform, with blockchain identifiers that reveal value transfers.

II. Terraform received ~$3.795 million in crypto assets for MIR sales.

15. As described below, I confirmed an estimated $3,795,000.47 worth of crypto assets went to

    Terraform wallet that, based on my analysis, appear related to Terraform’s sales of MIR. Of

    that amount, $1,025,000.00 went to addresses that Terraform identified to the SEC as

    belonging to Terraform. 14 The remaining $2,870,000.47 went to blockchain addresses into

    which Terraform employees directed MIR purchasing counterparties to transmit payment for

    their MIR purchased, as reflected in certain communications further set forth below. 15

16. To identify these crypto transfers, I was provided (1) contract details related to the sales of

    MIR as listed in Elbaum Declaration Exhibit 2 and (2) communications produced by

    Terraform. Using timestamps, crypto asset historical values, and blockchain identifiers, I was

    able to confirm the transfers on the blockchain that line up with these contracts for MIR.

17. Elbaum Declaration Exhibit 2 is a list of entities and individuals purchasing MIR. Appendix

    2 is a table showing the corresponding crypto asset transfers between the listed parties and

    Terraform, with blockchain identifiers which can be publicly confirmed.




14
   Terraform previously identified the following addresses as Terraform addresses, in what I was informed by
counsel was admitted as evidence at trial as Plaintiff Exhibit 301 (Attachment 1):
0x21ec2dBb3bFD2210A84bbC924466A70BECddd572
0xc89fa78cB14a79E588062Ab41F79E05E8122EDa8.
15
   TFL addresses which were not provided in Attachment 1, but were referenced in communications,
were 0x19F4d8BD9b8Add644ED8E645ee510F505E3A0a35,
0x21ec2dBb3bFD2210A84bbC924466A70BECddd572,
0x2Cd511c279aeC628A9fcbb8bEfEfF3f4bDaE7bAE,
0x325d5fA31951a26DFeb86fED1CbD381BB479A567,
0xc89fa78cB14a79E588062Ab41F79E05E8122EDa8,
0xcdc1Fb2bfA342061959C81B0e73ADE641D7F3f48,
0xcde254a30da513b40b4358142ff495d7c12c8b10,
0xdf495D97c28Ab8bE6e915402Af9f03F57a4Cf979, and
0xE28261970Cf28292629B55Fc322Ec939Ad6b6630.

                                                         8
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18. Using Terraform’s self-attributed addresses, communications with investors, blockchain

     timestamps and values aligning with contractual agreements, I identified multiple payments

     that Terraform received which appear to be payments in the crypto assets known as USDC

     and USDT for MIR. For USD values in these contractual agreements, “stablecoin” payments

     on the blockchain align with the U.S. dollar:

     •   In connection with the Avishay Ovadia payment of $5,000 worth of USDC, Terraform
         CFO CJ Han communicated with an email address that belongs to investor Avishay
         Ovadia. Terraform provides the address
         0x325d5fA31951a26DFeb86fED1CbD381BB479A567, into which USDC is
         transferred. 16 A transaction hash of the executed payments are provided in the
         communications as a form of verification. (TFL_SEC_00171257).

     •   In connection with Pantera Capital payment of $1,000,000 worth of USDC, Terraform
         executed multiple contracts for MIR. The purchase values listed in the contracts on
         September 30, 2020 were $649,478.28, $291,417.75, and $59,103.97. These amounts all
         were visibly transferred separately on October 7, 2020 in USDC, as reflected by public
         blockchain data. 17 All payments are sent to address
         0xcdc1Fb2bfA342061959C81B0e73ADE641D7F3f48. Terraform CFO CJ Han
         communicates with the Director of Trading for Pantera, Dennis Chou, providing the
         payment address 0xcdc1Fb2bfA342061959C81B0e73ADE641D7F3f48, into which
         USDC payments equivalent to the amount of the contract are made. 18 CJ Han confirmed
         receipt of the payment. (TFL_0001006).

     •   In connection with Arrington XRP Capital Cayman SPV, Ltd.’s payment of $1,000,000
         worth of USDC, Terraform CFO CJ Han communicated with an email address that
         belongs to Heather Harde, with the email domain name arringtonxrpcapital.com.
         Terraform provides the address 0x19F4d8BD9b8Add644ED8E645ee510F505E3A0a35,
         into which an equivalent amount of USDC was later transferred. Transaction hashes are
         provided in the communication as verification. 19 (TFL_SEC_00171248).



16
   For confirmation, see transaction hash
0x817e32d0bcab416a6ab5155dd825d22c76409c7f17abba1d815635313bc41fb6.
17
   For confirmation, see transaction hashes
0x0f5157cef8972d108acebc5cc32a4d3aca7d9d127fb46830514d02650cfc7a23,
0x383fec21593890c7909dd4c9d65027bb608764c0fde9724000a19c2887dca0bb,
0xb06297fcf7cff8453982bd4ebbccf9ff6f64ced79d17767852548d17261de1be.
18
   For confirmation, see transaction hashes
0xb06297fcf7cff8453982bd4ebbccf9ff6f64ced79d17767852548d17261de1be,
0x0f5157cef8972d108acebc5cc32a4d3aca7d9d127fb46830514d02650cfc7a23,
0x383fec21593890c7909dd4c9d65027bb608764c0fde9724000a19c2887dca0bb.
19
   For confirmation, see transaction hashes
0x7e441b39e7fe074683258d6a1e81da64a36b4588130abb147d80a854c08f3f7f,

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   •   In connection with William Wolf payment of $15,000 worth of USDC, Terraform CFO
       CJ Han provides Wolf with the payment address
       0x2Cd511c279aeC628A9fcbb8bEfEfF3f4bDaE7Bae. On November 1, 2020, two
       payments equal to 15,000 USDC are made into that address, and the transaction hashes
       are verified in the communication. 20 (TFL_SEC_00171232).

   •   In connection with Chainer Consultants payment of $500,000 worth of USDT, Terraform
       CFO CJ Han provided a payment address,
       0xE28261970Cf28292629B55Fc322Ec939Ad6b6630, to Jehan Chu, the co-founder of
       Kenetic capital. The total value sent is discussed in the email, and confirmation of
       500,000 USDT is provided with a transaction hash. 21 (TFL_SEC_00171238).

   •   In connection with Variant Fund LP payment of $250,000 worth of USDC, Terraform
       CFO CJ Han provided a payment address,
       0xdf495D97c28Ab8bE6e915402Af9f03F57a4Cf979, to an individual with the email
       domain variant.fund. The total value sent is discussed in the email, and confirmation of
       250,000 USDC is provided with a transaction hash. 22 (Variant_SEC_Mirror_0004219).

III. Terraform sold at least ~$2.289 billion in UST on crypto asset trading platforms. 23

19. Based on my analysis, Terraform also sold an estimated $2,289,273,269 net UST on crypto

   asset trading platforms to investors. To confirm these sales, I was provided with Terraform

   account orderbooks for accounts on three crypto asset trading platforms, Binance.com,

   KuCoin, and Bitfinex. To calculate the value of these UST sales, I used data from a

   commercial vendor (Kaiko), and open-source code that allowed me to analyze and

   approximate the USD value of the crypto asset transfers on these crypto asset trading

   platforms.




0x7898665f64852a1dfe58bdb36a108b5be92c3e47bcac48c3003d5f10054ac090. Note that the transaction hashes do
not appear in the PDF version of the email, but we were able to access it through the metadata.
20
   For confirmation, see transaction hashes
0x5ace144e153e3ae9dabafd6b53144123fcd6d8c9f810fa387f55494afbe4406d,
0xcbe028edc72c7f69cffc07f31a21d93dcfe19e64c95f9486131c4cbd6fdc2495.
21
   For confirmation, see transaction hashes
0x53e309b52a098c2724214bedc2cae572a9cdaf0eac4185030ebbce7e59ebb254,
0xf34dc681396088e7d8d63967cc624f6f9626b7f18024822b3f9704e91733b225.
22
   For confirmation, see transaction hashes
0xf616f9dc4942153d4c19d3c57a7ffce6d6119e191d25afe2add09c9011eb66cf,
0x15f3f53795f6bbbcc6c2e0b171ab6a176b4235ae9310a3065f113167d4708ffb.
23
   Note: These are only sales for non-Terra Assets.

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20. Terraform sold a net amount of $2,289,273,269 of UST on Binance, KuCoin and BitFinex

     between June 1, 2021 and May 31, 2022. Binance and Terraform produced to the SEC trade

     records related to Terraform’s trading activity on Binance, KuCoin (TFL_SEC_00245202),

     and BitFinex (TFL_SEC_00245199 and TFL_SEC_00245200). 24

21. Terraform maintained an account on Binance, a crypto asset trading platform, where

     Terraform conducted withdrawals, deposits, and buy/sell orders of Terraform-related crypto

     assets. Documentation provided by Binance confirmed that Terraform controlled the account.

     This documentation included digital identity records, orders, deposits, and withdrawals of a

     large number of crypto assets on the account. These records also included a photo of Kwon

     submitted for authentication during the know-your-customer (KYC) procedures for corporate

     Binance accounts. Attachment 6 is a true and correct copy of Terraform account records

     produced by Binance, Bates-labeled SEC-BINANCEH-E-0000037, see worksheets

     “Customer Information” and “KYC Documents.”




24
  It should be noted that Terraform operated additional accounts on many other crypto asset platforms not used in
this declaration.

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22.       I calculated USD values for each crypto asset sale using a commercial crypto asset

          market aggregator, called Kaiko. By accessing Kaiko’s application programming

          interface (API) with the open-source programming language python, I paired market

          USD values with Terraform’s orders to find best-estimated value of Terraform’s sales on

          these crypto asset trading platforms.

23. Combined, the Binance.com, Bitfinex, and Kucoin Terraform accounts sold from June 1,

      2021 to May 31, 2022, a net value of at least $2,289,273,269 billion UST, with a total gross

      value of $4,286,435,254 billion dollars. 25

       Platform          Security       Net Sold (USD)           Total Sold (USD)

       Binance           UST            $1,764,611,888.34        $3,185,155,127.06

       KuCoin            UST             $449,855,549.64         $1,020,870,696.70

       Bitfinex          UST              $74,805,830.63         $80,409,430.41

       TOTAL                            $2,289,273,268.61        $4,286,435,254.17




24. This total does not include an additional $24,733,971,652.11 dollars in Luna and

      $283,756,938.35 million in MIR in gross sales from January 1, 2021 through May 31, 2022,

      on the three Terraform accounts as detailed below:

 Platform         Security     Total Sold (USD)

 Binance          Luna         $16,574,806,921.76

     Binance      MIR             $178,432,482.27

     KuCoin       Luna          $2,996,279,268.43

 KuCoin           MIR               $3,181,436.54

25
  These sale order USD values are for 2021 and 2022 and do not include Terraform assets traded for other
Terraform assets. The difference between the “Net Sold” and “Total Sold” is the UST purchased by Terraform
during this same time frame.

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     Bitfinex   Luna            $4,879,128,523.57

     Bitfinex   MIR              $102,143,019.54

 TOTAL                       $24,733,971,652.11



IV. Luna Foundation Guard received ~$1.831 billion in crypto assets for LUNA and UST
sales.

25. As described below, I also confirmed blockchain transfers to Terraform affiliates of crypto

       assets which appear to be in exchange for Luna and UST. Elbaum Declaration Exhibit 3

       shows the investor contracts for LFG’s sales of Luna and UST. I was also provided a

       document produced by Terraform titled “Investor Tracker & Wallet Balances” (Attachment

       5, TFL_SEC_00182349) that contained a list of transaction hashes with these sales, which

       allowed me to find sending/receiving addresses, along with the corresponding USD value

       transferred. The investors listed in this document align with contracts identified in Elbaum

       Declaration Exhibit 3.

26. A review of these transaction hashes in Attachment 5 for contracts that align with contracts

       listed in Elbaum Declaration Exhibit 3, confirms a total of $845,458,136.09 received in

       Bitcoin, USDC, USDT, and BNB in connection with the LFG contracts. As instructed by

       SEC counsel, I have omitted from this sum total a Terraform deposit of an additional

       $155,531,798.75 dollars in USDT which originated from Terraform’s Binance.com

       account. 26 A list of these verified transactions using publicly available blockchain identifiers,

       along with transaction details, is provided in Appendix 4.




26
  Terraform’s records omit a transaction hash for this ~$155.531 million dollars, in transaction hash
0xfa645dbdc1395a6e730493db926dffa0434a59e6386fa5aea404faaf0624198f, which was worth approximately 17.9
million dollars in USDT.

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27. There were three addresses which the LFG received these payments, which were self-

     attributed by Terraform in Attachment 1:

 LFG Payment Address                                                  Network             Asset/Security       Value Received
                                                                                                               (USD)

 0x36236fa003Ac2E5371E3264276f82D355180a102                           BSC                 BNB                     $16,750,002.42

 0xAd41BD1cf3Fd753017Ef5c0da8dF31A3074EA1Ea                           Ethereum            USDT/USDC             $463,207,559.79

 bc1q9d4ywgfnd8h43da5tpcxcn6ajv590cg6d3tg6axe[…]                      Bitcoin             BTC                  $365,500,573.88 27

 TOTAL                                                                                                         $845,458,136.09



28. I reviewed a trade agreement between LFG and Genesis Asia Pacific PTE LTD (“Genesis”),

     for Genesis to purchase 1 billion UST for bitcoin. (SEC-GGT-E-0000017). Beginning on

     April 22, 2022 until April 28, 2022, Genesis transferred 25,012.348 bitcoin worth

     approximately $985,988,886.00 million at the time of the transfer. Communications and a

     spreadsheet I reviewed are consistent that these transfers were for the payment of UST and

     were made to a blockchain address that is associated with LFG. See Appendix 5 for

     blockchain identifiers which are publicly viewable and are consistent with communications I

     reviewed and a spreadsheet produced by TFL (SEC-CurranB-E-0003173, HO-

     14164_JK_07612, TFL_SEC_00299734, SEC-GGT-E-0000001).

29. Combined, LFG received $1,831,447,022.09 in crypto assets through the sales of LUNA and

     UST.




27
   JCDP-7 Digital Ltd (Jump) transfers an agreed sum of 520.49162516 bitcoin that is shown at an estimated value
of $20 million at the time of the transfer. However, due to fluctuating bitcoin values, the USD estimate at the time of
transfer was closer to $18 million. For this reason, $2 million dollars is excluded in the total amount being paid in
bitcoin to LFG address bc1q9d4y.

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   I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.


Executed on April 19, 2024

                                       /s/ Donald E. Battle
                                         Donald E. Battle




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                                                        APPENDICES

Appendix 1
Description: The below table shows Terraform’s receiving crypto asset for what appears to be Luna sales from 2018 until 2021 as
described above. Additional fields have been added to confirm crypto asset transfers from investors in ETH, USDC, USDT, BNB, and
BTC sent to Terraform addresses. The sum of these transfers is approximately $23,938,604.




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Appendix 2
Description: The below table shows Terraform receiving crypto asset for what appears to be MIR sales as described above.
Additional fields have been added to confirm crypto asset transfers from investors in USDC and USDT sent to Terraform addresses.
The sum of these payments is approximately $3,795,000.47.




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Appendix 3
Description: The tables below show the gross and net values of USD for Luna, UST, and MIR securities sold on Terraform accounts
on Binance.com, Bitfinex, and KuCoin. This information was created using python opensource language to query the Kaiko API, pull
USD values, and align these values to the minute.

 1/1/2021 – 5/31/2022                                              6/1/2021 – 5/31/2022

 Binance            Net Bought(-)/Sold(+)             Total Sold   Binance            Net Bought(-)/Sold(+)              Total Sold
            LUNA        ($3,051,184,643.39)   $16,574,806,921.76              LUNA        ($2,912,701,014.65)    $14,804,004,590.58
            UST           $1,764,611,888.34    $3,185,155,127.06              UST           $1,764,611,888.34     $3,185,155,127.06
            MIR            ($13,492,998.77)     $178,432,482.27               MIR              ($3,152,596.93)     $127,145,035.55

 KuCoin             Net Bought(-)/Sold(+)             Total Sold   KuCoin             Net Bought(-)/Sold(+)              Total Sold
            LUNA         ($958,026,717.89)     $2,996,279,268.43              LUNA         ($958,026,717.89)      $2,996,279,268.43
            UST            $449,855,549.64     $1,020,870,696.70              UST            $449,855,549.64      $1,020,870,696.70
            MIR               $224,069.84          $3,181,436.54              MIR               $224,069.84           $3,181,436.54

 Bitfinex           Net Bought(-)/Sold(+)             Total Sold   Bitfinex           Net Bought(-)/Sold(+)              Total Sold
            LUNA*        ($67,269,787.57)  $4,879,128,523.57                  LUNA*          ($75,905,306.65)     $4,854,752,767.95
            UST*           $67,860,139.78     $80,808,463.47                  UST*             $74,805,830.63        $80,409,430.41
            MIR*            $3,398,010.49    $102,143,019.54                  MIR*              $3,398,010.49      $102,143,019.54
set Transaction Hash Date (UTC) Asset Amount Sender and Receiver
The net sum value of the above UST sales from June 1, 2021 until May 31, 2022, as shown in the tables on the right side, is approximately
$2,289,273,268.61. The gross sum value is approximately $4,286,435,254.17.




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Appendix 4
Description: The below table shows all sales of Luna for the “Luna Foundation Guard” and their apparent corresponding payments in
BNB, BTC, USDC, and USDT. Additional fields have been added to confirm crypto asset transfers from investors to Terraform. The
sum of these payments is approximately $845,458,136.09.




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Appendix 5
Description: The below table shows all transfers between Genesis and Terraform, which appear to be the proceeds of sales of Luna
for the “Luna Foundation Guard.” The receiving address, cut off in the table, is
bc1q0wgz9gt8tyac5ct94czvyuu4v264fclrxlq8su4s2kk6u8nmwy9swjp6t7. The sum of these payments is approximately $985,988,886.




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